       Case 4:21-mj-07015-MKD          ECF No. 7   filed 01/15/21     PageID.11 Page 1 of 2




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2                                                                   FILED IN THE
                                                                U.S. DISTRICT COURT
                                                          EASTERN DISTRICT OF WASHINGTON


3                                                          Jan 15, 2021
                                                               SEAN F. MCAVOY, CLERK
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5                           UNITED STATES DISTRICT COURT

6                         EASTERN DISTRICT OF WASHINGTON

7    UNITED STATES OF AMERICA,                         No. 4:21-MJ-07015-MKD-1

8                         Plaintiff,                   ORDER FINDING PROBABLE
                                                       CAUSE AND ORDERING
9    vs.                                               DEFENDANT BE HELD PENDING
                                                       INITIAL APPEARANCE
10   ARTURO TEJEDA-GOMEZ,

11                        Defendant.

12           Before the Court is a Complaint issued after Defendant’s arrest. Due to the

13   timing of the arrest and presentment of the complaint, and the following business

14   day being a federal holiday, the Court will be unable to hold an initial appearance

15   for Defendant within 48 hours of his arrest. Accordingly, pursuant to LCrR 5(b),

16   the Court finds that the complaint establishes probable cause to believe Defendant

17   committed the offense set forth in the Complaint and related affidavit and orders

18   that Defendant be detained pending his initial appearance on Tuesday, January 19,

19   2021.

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     ORDER FINDING PROBABLE CAUSE AND ORDERING DEFENDANT BE
     HELD PENDING INITIAL APPEARANCE - 1
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1        DATED January 15, 2021

2                            s/Mary K. Dimke
                             MARY K. DIMKE
3                   UNITED STATES MAGISTRATE JUDGE

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     ORDER FINDING PROBABLE CAUSE AND ORDERING DEFENDANT BE
     HELD PENDING INITIAL APPEARANCE - 2
